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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

NACSHAUNAL ROCHELLE SEMIENS                         §
                                                    §
V.                                                  §         CIVIL ACTION No. -4:21-cv-1615
                                                                                 -------
                                                    §
MICHAEL CREMER AND APEX FREIGHT                     §
CARRIERS, INC.                                      §


                     NOTICE OF REMOVAL UNDER 28 U.S.C. 1441(8) AND 1367
                      OF MICHAEL CREMER & APEX FREIGHT CARRIERS, INC.


To THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Pursuant to Title 28, United States Code, sections 1441(b) and 1446, MICHAEL CREMER

("CREMER") AND APEX FREIGHT CARRIERS, INC. ("APEX"), Defendants in Cause No. 2021-22423

in the 295 th District Court of Harris County, Texas, files this Notice of Removal under 28 U.S.C.

1332, 1367 and 1441(b) to remove the above-referenced matter from state court to the United States

District Court for the Southern District of Texas, Houston Division. As set forth below, the United

States District Court has jurisdiction over this case under Title 28, United States Code, Section 1332,

because this is a civil action, complete diversity of citizenship would exist between the parties in

interest, and the amount in controversy exceeds $75,000, exclusive of interest and costs.

                                       Citizenship of the Parties

        1.     Plaintiff is a resident and citizen of the State of Texas.

       2.      Defendant MICHAEL CREMER is a resident and citizen of the State of Georgia.

       3.      Defendant APEX FREIGHT CARRIERS, INC. is a foreign company organized and

existing under and by virtue of the laws of the State of Georgia with its principal place of business

in the State of Georgia.
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                        Statement of Causes of Action/Amount in Controversy

        As set forth in Plaintiffs Original Petition, a true and correct copy of which is attached hereto,

this case is based upon a cause of action for negligence for personal injuries sustained by Plaintiff due

to Defendants' alleged negligence. Plaintiff alleges to have suffered bodily injuries after a vehicle

collision caused by Defendant, CREMER. It is alleged CREMER was driving an 18-wheeler and struck

another vehicle, causing that vehicle to collide with Plaintiffs vehicle. It is alleged Plaintiff has

suffered pain and mental anguish, medical treatment, disability and impairment, property damage and

loss of earnings. Plaintiff specifies that the amount of damages she claims to have sustained is over

$250,000.00 but not more than $1,000,000.00.

                                        Timeliness of Removal

        Plaintiffs Original Petition was filed on April 15, 2021 and served on Defendant CREMER on

May 04, 2021.     This Notice of Removal is being filed on or before June 04, 2021, which is thirty

days after the date of service.

                                     Compliance with Local Rules

        This Notice of Removal is being filed with an index of all matters being filed

contemporaneously with this Notice (Exhibit "A"). All materials required to be filed with the Notice

of Removal pursuant to Local Rule or Internal Operating Procedure 81 are being filed as reflected on

Exhibit "A". To the extent that any required documentation is not submitted with this Notice of

Removal, Defendants will supplement its Notice of Removal as soon as those documents become

available.




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                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, MICHAEL CREMER AND APEX FREIGHT CARRIERS,

INC., Defendants, pray that this matter be removed to the United States District Com1 for the Southern

District of Texas, Houston Division, for a jury trial and determination.

                                               Respectfully submitted,

                                               MANNING, GOSDA & AR3§_JONDO, L.L.P.
                                               Attorneys for MICHp-E~REMER & APEX FREIGHT
                                               CARRIERS INC~, l?,.efe dants ,,-J
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                                    CERTIFICATE OF SERVICE

        I hereby certify that I have complied with Rule 5 of the Federal Rules of Civil Procedure,
that the original of the foregoing instrument has been e-filed in the Office of the United States
District Clerk for the Southern District of Texas, Houston Division, together with this proof of
service thereof, and that a true and correct copy of same has been forwarded on the (L/- day of
May\, 2021, via United States mail, certified mail, return receipt requested, facsimile, e-mail or
hand delivery to counsel for Plaintiff as follows:

Mr. David K. Mestemaker
Mr. Norman Straub
Mr. Jonathan B. Zumwalt
MESTEMAKER, STRAUB & ZUMWALT
3100 Timmons Lane, Suite 455
Houston, Texas 77027




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